       Case 2:23-bk-52781                    Doc 12 Filed 08/16/23 Entered 08/16/23 12:50:07                                         Desc Ch 13
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Information to identify the case:
Debtor 1              Tricia Ann Routt                                                           Social Security number or ITIN    xxx−xx−1545

                      First Name   Middle Name    Last Name                                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name    Last Name
                                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court      Southern District of Ohio
                                                                                                 Date case filed for chapter 13 8/14/23
Case number: 2:23−bk−52781          Case Assigned To: Mina Nami Khorrami



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).


The staff of the bankruptcy clerk's office cannot give legal advice.


To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                                 About Debtor 2:
1. Debtor's full name                        Tricia Ann Routt

2. All other names used in the
   last 8 years
                                             10639 County Road 26
3. Address                                   West Mansfield, OH 43358
                                             Tricia Ann Routt                                                Contact phone 937−441−5994
4. Debtor's  attorney
   Name and address
                                             10639 County Road 26                                            Email: None
                                             West Mansfield, OH 43358

5. Bankruptcy trustee                        Edward A. Bailey                                                Contact phone 614−436−6700
     Name and address                        Edward A. Bailey − Chapter 13 Trustee                           Email: trustee@ch13.org
                                             550 Polaris Parkway
                                             Ste 500
                                             Westerville, OH 43082

6. Bankruptcy clerk's office                                                                                 Hours open 9:00 am − 4:00 pm Monday
     Documents in this case may be filed                                                                     through Friday
     at this address.                        170 North High Street                                           Contact phone (614)469−6638
     You may inspect all records filed in    Columbus, OH 43215−2414                                         Date: 8/16/23
     this case at this office or online at
     https://pacer.uscourts.gov.
                                                                                                                  For more information, see page 2
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      Case 2:23-bk-52781                       Doc 12 Filed 08/16/23 Entered 08/16/23 12:50:07                                                    Desc Ch 13
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Debtor Tricia Ann Routt                                                                                                                    Case number 2:23−bk−52781
7. Meeting of creditors
    Debtors must attend the meeting to September 20, 2023 at 11:30 AM                                        Location:
    be questioned under oath. In a joint                                                                     The meeting is by Zoom. Go to Zoom.us, Click
    case, both spouses must attend.      The meeting may be continued or adjourned to a later date. If so, on JOIN or call 1 (380) 208−5718, Enter
    Creditors may attend, but are not                                                                        Meeting ID 202 841 4931, and Passcode
    required to do so.                   the date will be on the court docket. No unauthorized weapons are 4037455479
                                         permitted on the court's premises. Cellular phones and portable
                                         electronic devices are permitted provided that they are not used to For additional meeting information go to
                                         take photographs or record any court proceedings unless             www.justice.gov/ust/moc
                                              otherwise authorized by the court.

8. Deadlines                                   Deadline to file a complaint to challenge                                    Filing deadline: 11/20/23
    The bankruptcy clerk's office must         dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                                 You must file:
                                               • a motion if you assert that the debtors are
                                                  not entitled to receive a discharge under
                                                  U.S.C. § 1328(f) or
                                               • a complaint if you want to have a particular
                                                  debt excepted from discharge under
                                                  11 U.S.C. § 523(a)(2) or (4).
                                               Deadline for all creditors to file a proof of claim Filing deadline: 10/23/23
                                               (except governmental units):
                                               Deadline for governmental units to file a proof of  Filing deadline: 2/12/24
                                               claim:
                                               Deadline for Rule 3001(c)(1) and (d) attachments to Filing deadline: 12/12/23
                                               a Rule 3002(c)(7) claim:


                                               Deadlines for filing proof of claim:
                                                A proof of claim is a signed statement describing a creditor's claim. If you would like to electronically complete
                                               and file a Proof of Claim form, you may do so at the following web site: https://www.ohsb.uscourts.gov/epoc

                                               If you do not have access to a computer, or prefer to file the Proof of Claim manually, a Proof of Claim form can
                                               be obtained at http://www.uscourts.gov or at any bankruptcy clerk's office.

                                               If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                               a proof of claim even if your claim is listed in the schedules that the debtor filed. Under General Order 56−1, if
                                               you do not file a timely proof of claim, you may not receive certain notices in this case.
                                               Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                               claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                               For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                               including the right ot a jury trial.


                                               Deadline to object to exemptions:                                             Filing deadline:     30 days after the
                                               The law permits debtors to keep certain property as exempt. If you                                 conclusion of the
                                               believe that the law does not authorize an exemption claimed, you                                  meeting of creditors
                                               may file an objection.

                                               Deadline to Object to Plan:
                                               Objections to confirmation of a plan shall be in writing, filed and
                                               served on debtor, the debtor's attorney, the trustee, and the United
                                               States trustee, and shall bear a certificate of service dated not later
                                               than fourteen (14) days after the § 341 meeting is concluded.

9. Filing of plan                             The debtor has filed a plan. The plan will be sent separately. The hearing on confirmation will be held: 10/24/23
                                              at 01:00 PM , Location: Courtroom A, U.S. Bankruptcy Court, 170 North High Street, Fifth Floor,
                                              Columbus, OH 43215
10. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                    extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                               any questions about your rights in this case.
11. Filing a chapter 13                        Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                            according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                               plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                               the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                               debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                               court orders otherwise.
12. Exempt property                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                               distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                               exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                               believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                               deadline.
13. Discharge of debts                         Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                               However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                               are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                               as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C.
                                               § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the
                                               deadline. If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C.
                                               § 1328(f), you must file a motion by the deadline.
If you would like to receive all future notices from the Bankruptcy Court electronically (email), you may register for the courts free Electronic Bankruptcy Noticing (EBN)
service. EBN is reliable, fast, and efficient. Additional details and registration are available at: https://bankruptcynotices.uscourts.gov
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